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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


ROBERT GORDON                       :             CIVIL ACTION
                                    :             NO. 20-0224
     v.                             :
                                    :             CRIMINAL ACTION
SCOTT FINLEY                        :             NO. 09-441


                                 ORDER
          AND NOW, this 11th day of January, 2021, for the

reasons set forth in the foregoing Memorandum, it is hereby

ordered that:

          (1) the Petition of Robert Gordon for a Writ of Habeas

Corpus under 28 U.S.C. § 2241 is DENIED;

          (2) the request of the Government and Gordon is

GRANTED that the Court recommend to the Bureau of Prisons that

it designate the facility where Gordon served his sentence for

his convictions in Commonwealth v. Robert Gordon, Criminal

Action No. CP-51-CR-0015884-2008 (Phila. Ct. Comm. Pl. Jan. 19,

2010) as the place where service of his federal sentence

commenced;

          (3) the Government shall advise the appropriate

official of the Bureau of Prisons of the Court’s recommendation

and forward to the appropriate official of the Bureau of Prisons

a copy of the Court’s Memorandum and Order; and
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          (4) the Government shall place on the docket a

statement that it has complied with this Order.



                                        BY THE COURT:



                                        /s/ Harvey Bartle III_________
                                                                    J.




                                  -2-
